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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

        v.
                                                            Criminal No. 21-147 (CKK)
 CHRISTOPHER RAPHAEL SPENCER,

    Defendant.


                                            ORDER
                                       (January 21, 2025)

       Upon consideration of Defendant Christopher Raphael Spencer’s [148] Motion to Delay

Self-Surrender Date, and the President’s Proclamation entitled "Granting Pardons and

Commutation of Sentences for Certain Offenses Relating to the Events at or Near the United States

Capitol on January 6, 2025," dated January 20, 2025, it is hereby

       ORDERED that Defendant Spencer's [148] Motion for to Delay Self-Surrender Date is

GRANTED. Defendant Spencer's date to report to the Bureau of Prisons is EXTENDED by 30

days to February 20, 2025.



                                                               /s/
                                                    COLLEEN KOLLAR-KOTELLY
                                                    UNITED STATES DISTRICT JUDGE
